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                   7   LA OSM WILSHIRE LLC
                   8                         UNITED STATES DISTRICT COURT
                   9                       CENTRAL DISTRICT OF CALIFORNIA
                  10

                  11   Orlando Garcia,                             Case No. 2:20-cv-10711
                  12              Plaintiff,                       DEFENDANT LA OSM WILSHIRE
                                                                   LLC’S NOTICE OF REMOVAL
                  13        v.
                                                                   [Filed concurrently with Civil Cover
                  14 LA OSM Wilshire LLC, a Delaware               Sheet and Corporate Disclosure
                     Limited Liability Company; and Does           Statement and Certificate of Interested
                  15 1-10,                                         Parties]
                  16
                                  Defendant.                       Complaint Filed: September 29, 2020
                  17                                               Trial Date:      None
                                                                   District Judge: Hon. _______________
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                   1   TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
                   2   DISTRICT OF CALIFORNIA AND TO PLAINTIFF ORLANDO GARCIA
                   3   AND HIS ATTORNEYS OF RECORD:
                   4         PLEASE TAKE NOTICE THAT defendant LA OSM Wilshire LLC
                   5   (“Defendant”), removes this action from the Los Angeles County Superior Court to
                   6   the United States District Court for the Central District of California pursuant to 28
                   7   U.S.C. §§ 1331, 1367(a), 1441(a) and (c), and 1446, because plaintiff Orlando
                   8   Garcia’s (“Plaintiff”) action presents a federal question by asserting claims under the
                   9   Americans With Disabilities Act of 1990 (“ADA”) [42 U.S.C. §§ 12101, et seq.].
                  10   These facts were true at the time the Complaint in this matter was filed and remain
                  11   true as of the date of the filing of this notice of removal, as more fully set forth
                  12   below:
                  13   I.    THE STATE COURT ACTION
                  14         On or about September 29, 2020, Plaintiff filed his Complaint, entitled
                  15   Orlando Garcia, Plaintiff, v. LA OSM Wilshire LLC, a Delaware Limited Liability
                  16   Company; and Does 1-10, in the Superior Court of the State of California for the
                  17   County of Los Angeles, Case No. 20STCV37131. The causes of action in the
                  18   Complaint include: (1) violation of the Americans with Disabilities Act of 1990
                  19   (“ADA”); and (2) Violation of the Unruh Civil Rights Act, California Civil Code
                  20   section 51 et seq. (“Unruh”). On October 25, 2020, Plaintiff completed service of
                  21   process on Defendant by leaving the Summons and Complaint with a person at least
                  22   18 years of age apparently in charge at Defendant’s office or usual place of business
                  23   on October 14, 2020 and mailing the documents to Defendant on October 15, 2020.
                  24   See Cal. Code Civ. Proc. § 415.20 (setting forth requirements for substituted service
                  25   and providing that “[s]ervice of a summons in this manner is deemed complete on
                  26   the 10th day after the mailing”). A true and correct copy of the Complaint is
                  27   attached to this Notice of Removal as Exhibit A.
                  28         Plaintiff named only LA OSM Wilshire LLC as a defendant, and he has not

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                   1   yet identified any of the fictitious “Doe” defendants named in the Complaint.
                   2          In accordance with 28 U.S.C. § 1446(a), this Notice of Removal is filed in the
                   3   United States District Court for the Central District of California, which is the
                   4   district court within which the action is pending. The Superior Court is located
                   5   within the Central District of California. Therefore, venue is proper in this Court
                   6   pursuant to 28 U.S.C. § 84(c)(1) to the extent it is the “district and division
                   7   embracing the place where such action is pending.” 28 U.S.C. § 1441(a).
                   8   II.    REMOVAL IS TIMELY
                   9          A defendant in a civil action has thirty (30) days from the date it is validly
                  10   served with a Summons and Complaint to remove the action to federal court.
                  11   28 U.S.C. § 1446(b); see Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc., 526
                  12   U.S. 344, 347-48 (1999). This Notice of Removal is timely pursuant to 28 U.S.C.
                  13   § 1446(b) and Rule 6 of the Federal Rules of Civil Procedure in that Defendant was
                  14   originally served with a copy of the Complaint on October 25, 2020 (see Cal. Code
                  15   Civ. Proc. § 415.20), no more than thirty (30) days before the filing of this Notice.
                  16          The consent of fictitious “Doe” defendants is not required because they have
                  17   not been served. Thus, Defendant is the only party that must consent to removal, and
                  18   it has done so by filing this Notice of Removal.
                  19   III.   FEDERAL QUESTION JURISDICTION EXISTS UNDER 28 U.S.C. §
                  20          1441(B) AND (C)
                  21          This action is one over which this Court has original jurisdiction under
                  22   28 U.S.C. § 1331, and is one which may be removed to this Court pursuant to the
                  23   provisions of 28 U.S.C. § 1441(a), in that it arises under a federal statute, namely, the
                  24   ADA [42 U.S.C. §§ 12101, et seq.].
                  25          Plaintiff’s first cause of action alleges violations of the ADA [42 U.S.C.
                  26   §§ 12101, et seq.]. (Ex. A, Complaint ¶¶ 20-23.) Accordingly, Plaintiff’s lawsuit is
                  27   removable to this Court because there is federal question jurisdiction. See Emich v.
                  28   Touche Ross & Co., 846 F.2d 1190, 1196 (9th Cir. 1988).

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                   1         Pursuant to 28 U.S.C. § 1367, this Court has the discretion to exercise
                   2   supplemental jurisdiction over the state law claim in Plaintiff’s Complaint because
                   3   the state law claim is transactionally-related to Plaintiff’s ADA cause of action. The
                   4   state law claim derives from the same common nucleus of operative facts as the
                   5   federal claim. See United Mine Workers of America v. Gibbs, 383 U.S. 715, 725
                   6   (1966); Emich, 846 F.2d at 1196. More specifically, Plaintiff’s claims for violation
                   7   of the ADA and of the Unruh Civil Right Act both allege that Plaintiff was denied
                   8   access to Defendant’s hotel due to alleged barriers on Defendant’s reservation
                   9   system. (See Complaint ¶¶ 17-19, 23, 25-27.)
                  10   IV.   ALL PROCEDURAL REQUIREMENTS HAVE BEEN MET
                  11         Pursuant to 28 U.S.C. §1446(d), Defendant will give written notice of the
                  12   removal of this action to all parties and will file a copy of that Notice with the
                  13   Superior Court of California, County of Los Angeles. True and correct copies of the
                  14   notice to Plaintiff and to the state court will be filed promptly in this Court.
                  15   In accordance with 28 U.S.C. § 1446(a), this Notice of Removal is accompanied by
                  16   Exhibit B, which is a copy of all process, pleadings, and orders served upon
                  17   Defendant in this action.
                  18   V.    CONCLUSION
                  19         Because this civil action presents a federal question, Defendant respectfully
                  20   requests that this Court exercise its removal jurisdiction over this action.
                  21   ///
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                   1         In the event this Court has a question regarding the propriety of this Notice of
                   2   Removal, Defendant requests that it issue an Order to Show Cause so that it may
                   3   have an opportunity to more fully brief the Court on the basis for this removal.
                   4

                   5                                          Respectfully submitted,
                   6   DATED: November 24, 2020               OGLETREE, DEAKINS, NASH, SMOAK &
                                                              STEWART, P.C.
                   7

                   8

                   9                                          By: /s/ J. Nicholas Marfori
                                                                  Amber L. Roller
                  10                                              J. Nicholas Marfori
                  11                                          Attorneys for Defendant
                                                              LA OSM WILSHIRE LLC
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